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                                UNITED STATES BANKRUPTCY COURT
                                  WESTERN DISTRICT OF VIRGINIA
                                     HARRISONBURG DIVISION

IN RE:                                                            )
                                                                  )         Chapter 7
BILL DOUGLAS GOLDEN,                                              )         Case Number 17-50849
                                                                  )
         Debtor.                                                  )

                  NOTICE OF DISMISSAL AND OPPORTUNITY TO BE HEARD

         PLEASE TAKE NOTICE that the pro se debtor has filed a motion to dismiss this

bankruptcy case [Docket Entries Nos. 39 and 40].1

         PLEASE TAKE NOTICE that unless you file an objection on or before March 15, 2018,

this case will be dismissed on the motion of the debtor without further notice or hearing by entry

of the Court’s form order of dismissal.

         PLEASE TAKE FURTHER NOTICE that if an objection is filed, it will be heard on

March 21, 2018 at 2:00 p.m. in the United States Bankruptcy Court, United States Courthouse,

116 N. Main Street, Harrisonburg, VA 22801.

Dated: 22 February 2018                                  Respectfully submitted,
                                                         JOHN P. FITZGERALD, III
                                                         ACTING UNITED STATES FOR REGION FOUR

                                                         By:/s/ Margaret K. Garber

Margaret K. Garber (VSB No. 34412)
Assistant United States Trustee
Office of the United States Trustee
210 First Street, Suite 505
Roanoke, VA 24011
Margaret.k.garber@usdoj.gov
(540) 857-2806
                                    Certificate of Service



1
 In the interests of justice and to provide adequate notice to all parties in interest, the United States Trustee is
providing this notice. The United States Trustee does not oppose this motion.
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I hereby certify that this notice was filed in the Court’s CM/ECF system which caused same to
be served upon all parties registered to receive notice in this matter to receive same on the 22nd
day of February 2018. Additionally, on this same day, this notice was served on the debtor and
all parties in interest included on the debtor’s mailing matrix.

                                              /s/ Margaret K. Garber
